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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GELASIA CROOM,                                        )
                                                      )       Case No.
       Plaintiff,                                     )
                                                      )       Judge
v.                                                    )
                                                      )       Magistrate Judge
PREVENT CHILD ABUSE AMERICA,                          )
                                                      )       Jury Trial Demanded
       Defendant.                                     )

                                          COMPLAINT

       Plaintiff, Gelasia Croom, by and through her attorneys, Pedersen & Weinstein LLP, for

her Complaint against Defendant, Prevent Child Abuse America, states as follows:

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this action to challenge Defendant’s unlawful discrimination

against her based on her race, as well as the retaliation she suffered as a result of opposing the

unlawful conduct. Plaintiff asserts her claims under the Civil Rights Act of 1964, as amended by

the Civil Rights Act of 1991, (“Title VII”) and 42 U.S.C. Section 1981 (“Section 1981”), as well

as the Illinois Human Rights Act (“IHRA”).

                                 JURISDICTION AND VENUE

       2.      Jurisdiction is based on 28 U.S.C. §§ 1331 and 1343, and principles of pendent

and supplemental jurisdiction.

       3.      Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §

1391(a).

                                             PARTIES

       4.      Plaintiff Gelasia Croom (“Plaintiff”) was formerly employed by Defendant as its



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Chief Communications Officer in Chicago, Illinois. Plaintiff began her employment in April

2022 and was unlawfully fired in March 2024. Plaintiff’s race is black.

       5.      Defendant Prevent Child Abuse America (“Defendant”) holds itself out as the

nation’s oldest and largest organization committed to preventing child abuse and neglect.

Headquartered in Chicago, Illinois, Defendant maintains chapters in all 50 states.

       6.      At all times relevant to this Complaint, Defendant employed more than 15

employees and was engaged in an industry affecting commerce.

                                  FACTUAL ALLEGATIONS

Plaintiff’s Employment With Defendant

       7.      Plaintiff was hired by Defendant to be its Chief Communications Officer,

although she was inexplicably demoted to Senior Director of Communications in early 2024.

       8.      Throughout her employment, Plaintiff’s job duties included managing

Defendant’s integrated marketing and communications initiatives, creating content, overseeing

media relations, acting as communications liaison to key internal and external audiences, and

managing outside vendors, among other tasks.

       9.      Plaintiff enjoyed her job and performed it extremely well, as evidenced by the

various projects she successfully completed, the favorable performance reviews she earned (she

consistently was rated as meets or exceeds expectations), and the positive feedback she received

from colleagues, board members and management. To be sure, over her tenure – and despite

Defendant’s recently contrived claim that it fired Plaintiff for poor performance –she received

the following accolades, among others, from her direct supervisor:

       “[Plaintiff] does a great job paying attention to details considering all the tasks and
       products she has to juggle.”

       “[Plaintiff] does a good job with staying organized and completing her work on time.”

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       “[Plaintiff] does a great job offering her advice and guidance across the organization.”

       “[Plaintiff] has done an excellent job leveraging and elevating our social media presence
       and folks have commented on how much is coming out and the quality of the content.”

       “[Plaintiff] is great at receiving feedback from her supervisor and putting it to action.”

       “[Plaintiff] is a great addition to our team.”

       10.     Plaintiff was also rated as “Exceeds Performance Expectations” on her most

recent annual review, issued just three months before her termination.

       11.     In short, by Defendant’s own standards, Plaintiff was an exemplary employee.

       12.     Based on her background, qualifications and passion for her job, Plaintiff had

every reason to anticipate a long and successful career with Defendant.

Defendant Discriminated Against Plaintiff On Account Of Her Race

       13.     Despite her exemplary job performance and dedication to Defendant and its

mission, Defendant treated Plaintiff poorly as compared to her white colleagues and ultimately

pushed her out of the organization as a result.

       14.     As an initial matter, it is clear that Defendant has a preference for white and/or

non-black employees, as evidenced by the relatively few black employees who work for the

organization, particularly in high-level positions. Indeed, throughout her employment, Plaintiff

was the only black employee on Defendant’s executive leadership team.

       15.     Moreover, Plaintiff is aware of other employees who experienced racial

discrimination like she did, including one who lodged a formal complaint against the same

person Plaintiff did before she (Plaintiff) was fired. Defendant did nothing to remedy the

discrimination or to prevent it from happening to Plaintiff.

       16.     Consistent with this pattern of discrimination, Defendant took several adverse

actions against Plaintiff because of her race. Examples of Defendant’s unlawful treatment of

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Plaintiff include, but are not limited to, the following:

               a)      Defendant denied Plaintiff the level of support appropriate to her position
                       and that the other, all white executive team members received. For
                       example, Plaintiff’s immediate supervisor was on vacation for almost an
                       entire month following Plaintiff’s hire, effectively leaving Plaintiff with
                       no managerial support during this critical time. For further example, until
                       late 2022, Plaintiff was the only member of the executive team with no
                       staff, forcing her to perform an unwarranted amount of work, including
                       work that should have been done by lower-level employees. Although
                       Plaintiff still performed her job well, she did so under incredible pressure
                       and sacrificed spending time with her family in the evenings and on
                       weekends to do so.

               b)      When Plaintiff was finally allowed to bring on a staff member in
                       December 2022, she hired Irmes Dagba. Ms. Dagba is also black and over
                       time, Plaintiff detected hostility from other employees directed at both her
                       and Ms. Dagba. This aggression came through in the form of harsh emails
                       to her and Ms. Dagba, criticisms for trivial or nonexistent matters, and an
                       overall tone of palpable disrespect.

               c)      Plaintiff was marginalized within the organization and consistently made
                       to feel less important than her white counterparts. For example, at a
                       dinner meeting in October 2023, Plaintiff was repeatedly interrupted by
                       President and Chief Executive Officer Melissa Merrick (“Merrick”) and
                       Jennifer Jones (“Jones”), Chief Strategy Officer and Plaintiff’s direct
                       supervisor. The treatment was so obvious that other attendees noticed it,
                       too.

               d)      Plaintiff and other black employees were subjected to highly offensive
                       racial comments at a work-related event. More specifically, at a
                       conference in Baltimore in September 2023, Defendant brought in an
                       expert on racial relations to discuss the issue of race and racism with
                       Defendant’s workforce. During this discussion, a white employee of
                       Defendant made a comment in the presence of all attendees that “even
                       slaves had a choice,” or words to that effect, implying that black people
                       are responsible for the adverse treatment they receive. Shortly thereafter,
                       Plaintiff publicly protested the discriminatory remarks and said they
                       should not have happened.

               e)      In January 2024, shortly after opposing the offensive and discriminatory
                       treatment described above, Defendant demoted Plaintiff and abruptly
                       changed her title from Chief Communications Officer to Senior Director
                       of Communications. The title change was announced at a meeting for the
                       entire executive team and Plaintiff was given no advance notice of the
                       demotion. Plaintiff was also the only employee within the organization

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              whose title was downgraded. Stunned, she later asked Merrick and Jones
              why Defendant had done this, expressing that it was disorienting,
              embarrassing and incredibly hurtful both personally and professionally,
              and also seemed inconsistent with Defendant’s purported commitment to
              representation. The decision otherwise made no sense because Plaintiff’s
              job duties did not change (indeed the job descriptions are virtually
              identical) and it appeared to her that the decision was intended only to
              embarrass and humiliate her. She asked Defendant to reconsider the
              decision and even offered an alternative title that would help preserve her
              standing and professional image. Plaintiff did not receive any meaningful
              response or explanation.

       f)     After demoting and demoralizing Plaintiff with the discriminatory title
              change, Defendant then chastised Plaintiff for being upset about it.
              Indeed, Jones reprimanded Plaintiff for her demeanor at a meeting the
              very next day. Similarly, Merrick criticized Plaintiff’s demeanor at a later
              time, telling Plaintiff that she noticed she was not as “jovial” as she used
              to be or smiling like she had before and that it was “unprofessional.” The
              irony of being reprimanded for being unhappy about a discriminatory
              demotion, as well as the stereotypes invoked by telling a black woman that
              she should smile more and not look angry or upset, was not lost on
              Plaintiff.

       g)     At a special event sponsored by the NBA in Indianapolis in late February
              2024, an event to which Plaintiff was critical in securing invitations for
              Defendant to attend for the first time in its history, she and Ms. Dagba
              were treated like second-class citizens. Apart from having to transport all
              materials for the conference to Indianapolis and then keep Merrick
              company until late in the evening (at Merrick’s request and while Merrick
              drank to excess), they were then tasked with getting coffee for Merrick
              and Kelly Christopher (“Christopher”), Chief Development Officer, the
              next morning. Although Plaintiff politely tried to decline, explaining that
              getting coffee would likely make her and Ms. Dagba late for the
              conference, they were asked to do it anyway.

       h)     Two weeks after the Indianapolis event, Jones – who had not attended –
              told Plaintiff that she wanted to “save some time to talk about Indy” with
              her during their regular 1 on 1 meeting. Plaintiff expected to be
              commended for how well the NBA event had gone, but was shocked when
              Jones instead reprimanded her, telling Plaintiff that “I heard you missed
              the meeting on Friday” and “I heard you were late on Saturday morning,”
              or words to that effect. Plaintiff was stunned and asked Jones where she
              was getting that information because it was not accurate. Plaintiff also
              asked Jones if she (Jones) was aware that Plaintiff was only ever
              tentatively scheduled to attend the meeting on Friday because she had to
              drive up with all the equipment and during a snowstorm no less and that

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                       the reason she was late on Saturday morning was because she had to get
                       coffee for Merrick and Christopher as though she was their personal
                       assistant. Jones indicated she was not aware of these details. Plaintiff
                       became even more demoralized as it was obvious to her that Merrick and
                       Christopher were unjustly disparaging her to her direct supervisor.

               i)      Around the time of the Indianapolis event, Christopher’s antagonistic
                       attitude toward Plaintiff began to escalate. Apart from ignoring Plaintiff
                       at the NBA event (Christopher conspicuously had introduced her family
                       who had attended the event with her to other employees of Defendant but
                       not to Plaintiff or Ms. Dagba), Christopher thereafter inexplicably began
                       supervising Plaintiff’s work while also treating her with abject hostility.
                       For example, in an email exchange on March 20, 2024, Christopher
                       ignored Plaintiff’s guidance on how a particular page should look on the
                       organization’s website and was rude and dismissive toward her. Jones
                       was copied on Christopher’s abrasive emails to Plaintiff, but did nothing
                       to intervene.

       17.     The cumulative effect of these events was that Plaintiff was forced to work in a

hostile environment.

Plaintiff Reported The Discrimination,
But Defendant Failed To Take Appropriate Remedial Action

       18.     Plaintiff did her best to work in the unwelcoming environment, but by late March

2024, the situation had become untenable. Accordingly, on March 21, 2024, Plaintiff sent Jones

an email about the hostile and toxic environment she found herself in and spoke further with

Jones about her concerns later the same day.

       19.     In that meeting on March 21, 2024, Plaintiff told Jones that as a black woman,

Christopher’s behavior towards her was troubling. She also told Jones that she (Plaintiff) felt the

same way the other black employee who had made a complaint of race discrimination against

Christopher felt: that Christopher treated her with disrespect and that Christopher seemed to have

a problem working with black employees. Four days later, Plaintiff was fired.

Defendant Retaliated Against Plaintiff For Opposing And Reporting Race Discrimination

       20.     Plaintiff had hoped that Defendant would take appropriate remedial action in

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response to her report of race discrimination, but it did not. Instead, Defendant took swift

retaliatory action against her.

        21.     To be sure, on March 25, 2024, four days after her complaint to Jones about race

discrimination and a few months after her earlier complaints, Plaintiff was called into a meeting

and abruptly fired. Jones told Plaintiff that “things are just not working out” and “since the title

change, it seems like you have been a little off,” or words to that effect. Merrick also told

Plaintiff that “it’s just not a good fit,” or words to that effect. Given that Plaintiff had received

no warning, disciplinary notice, or performance improvement plan whatsoever, and in fact had

recently been rated as exceeding her performance expectations, Plaintiff understood immediately

that she was no longer a “good fit” because of her race and because she had just complained

about race discrimination.

        22.     Plaintiff understands that Defendant is now claiming that it fired her for poor

performance but this is pure pretext. As noted above, Plaintiff never received any indication that

her performance was unsatisfactory or that her job was in jeopardy. Quite to the contrary, she

consistently received positive feedback on her performance and had just been rated as “Exceeds

Performance Expectations” on her most recent review.

        23.     Recognizing that the timing alone of its actions gives rise to an inference of

retaliation, Defendant is also now claiming – conveniently – that it actually had made the

decision to fire Plaintiff by March 14, 2024, before her most recent complaint of discrimination.

Defendant claims it only waited to inform Plaintiff of her termination on March 25, 2024 until

Jones could be present at the termination meeting. This, too, is plainly pretextual; no

documentation exists to support this self-serving claim and it otherwise defies logic because

Jones was in the office between March 14 and March 25, 2024. Indeed, Jones had been in



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Chicago for two days (March 22 and 23, 2024) for the board meeting. Jones then left Chicago to

drive back to her home in Wisconsin, but drove back again on March 25 to fire Plaintiff.

       24.     In light of all the circumstances, including Defendant’s obvious preference for

white employees, its failure to appropriately address prior complaints of race discrimination

(including against the same person who discriminated against Plaintiff), the hostility and

demeaning treatment Plaintiff experienced throughout her employment, the pretextual

explanation for her termination (which is tantamount to an admission of retaliatory intent), and

the timing of her termination (on the heels of reporting race discrimination), there is no question

that Defendant fired Plaintiff because of her race and because she had opposed its discriminatory

conduct.

Defendant Failed To Exercise Reasonable Care To Prevent And Correct Unlawful Conduct

       25.     Defendant directed, encouraged, and participated in the above-described unlawful

conduct. Further, Defendant failed to exercise reasonable care to prevent and correct promptly

any harassment or discrimination. Plaintiff did not unreasonably fail to take advantage of any

preventive or corrective opportunities provided by Defendant or to avoid harm otherwise.

       26.     The discrimination described above was consistent with Defendant’s standard

operating procedure.

       27.     Defendant acted with malice or with reckless indifference to Plaintiff’s federally

and state protected rights.

Plaintiff Timely Filed A Charge Of Discrimination

       28.     Plaintiff timely filed a charge of discrimination and retaliation with the EEOC.

Plaintiff subsequently received her Notice of Right to Sue on or about November 19, 2024.

       29.     The EEOC cross-filed Plaintiff’s charge of discrimination with the Illinois



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Department of Human Rights (“IDHR”) pursuant to the work-sharing agreement between the

EEOC and IDHR. After receiving her Notice of Right to Sue from the EEOC, Plaintiff

submitted a Notice of Opt Out of IDHR’s Investigative and Administrative Process to the IDHR

(“Opt Out Notice”) so she may pursue her state law claims in court. This Court has

supplemental jurisdiction over Plaintiff’s claims under the Illinois Human Rights Act pursuant to

28 U.S.C § 1367(a).

Plaintiff Suffered Damage

       30.     As a direct and proximate result of the unlawful conduct Plaintiff experienced,

she has suffered extreme emotional and mental distress.

       31.     Plaintiff has lost wages, compensation and benefits as a result of Defendant’s

unlawful conduct.

       32.     Plaintiff’s career and reputation have been irreparably damaged as a result of

Defendant’s unlawful conduct.

       33.     Plaintiff suffered embarrassment and humiliation as a result of Defendant’s

unlawful conduct. Plaintiff suffered loss of enjoyment of life, inconvenience and other non-

pecuniary losses as a direct result of Defendant’s unlawful conduct, and she has incurred

attorneys’ fees and costs.

Punitive Damages / Liquidated Damages

       34.     Defendant acted and/or failed to act with malice or willfulness or reckless

indifference to Plaintiff’s rights. The conduct alleged herein was willful and wanton and justifies

an award of punitive damages and/or liquidated damages.




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                                            COUNT I

                RACE DISCRIMINATION IN VIOLATION OF TITLE VII

       35.     Plaintiff realleges paragraphs 1 through 34 and incorporates them by reference as

paragraphs 1 through 34 of Count I of this Complaint.

       36.     Title VII makes it unlawful to discriminate against any individual in the terms,

conditions, or privileges of employment, on the basis of race.

       37.     Title VII also prohibits racial harassment. Racial harassment that creates an

abusive and hostile work environment, such that the conditions of employment are altered, is

actionable under Title VII.

       38.     By the conduct as alleged herein, Defendant subjected Plaintiff to race

discrimination in violation of Title VII.

                                            COUNT II

                       RETALIATION IN VIOLATION OF TITLE VII

       39.     Plaintiff realleges paragraphs 1 through 38 and incorporates them by reference as

paragraphs 1 through 38 of Count II of this Complaint.

       40.     Title VII, specifically 42 U.S.C. Section 2000e-3, makes it unlawful for an

employer to discriminate against an employee who has opposed an unlawful employment

practice or has assisted or participated in another employee’s claim of discrimination.

       41.     Defendant retaliated against Plaintiff for her complaints of discrimination. By its

conduct, Defendant subjected Plaintiff to unlawful retaliation in violation of Title VII.

                                            COUNT III

              RACE DISCRIMINATION IN VIOLATION OF SECTION 1981

       42.     Plaintiff realleges paragraphs 1 through 41 and incorporates them by reference as



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paragraphs 1 through 41 of Count III of this Complaint.

       43.     42 U.S.C. §1981, as amended by the Civil Rights Act of 1991, (“Section 1981”),

prohibits discrimination based on race in the performance, modification, and termination of

contracts, and the enjoyment of all benefits, privileges, terms, and conditions of the contractual

relationship. Section 1981 also prohibits racial harassment.

       44.     By the conduct as alleged herein, Defendant subjected Plaintiff to race

discrimination in violation of Section 1981.

                                           COUNT IV

                    RETALIATION IN VIOLATION OF SECTION 1981

       45.     Plaintiff realleges paragraphs 1 through 44 and incorporates them by reference as

paragraphs 1 through 44 of Count IV of this Complaint.

       46.     Section 1981, specifically 42 U.S.C. Section 2000e-3, makes it unlawful for an

employer to discriminate against an employee who has opposed an unlawful employment

practice or has assisted or participated in another employee’s claim of discrimination.

       47.     Defendant retaliated against Plaintiff for her complaints of discrimination. By its

conduct, Defendant subjected Plaintiff to unlawful retaliation in violation of Section 1981.

                                            COUNT V

                RACE DISCRIMINATION IN VIOLATION OF THE IHRA

       48.     Plaintiff realleges paragraphs 1 through 47 and incorporates them by reference as

paragraphs 1 through 47 of Count V of this Complaint.

       49.     The Illinois Human Rights Act (“IHRA”), 775 ILCS 5/2-102(A), makes it

unlawful to discriminate against any individual in the terms, privileges or conditions of

employment on the basis of race. The IHRA also prohibits racial harassment.



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       50.     By the conduct as alleged herein, Defendant subjected Plaintiff to race

discrimination in violation of the IHRA.

                                            COUNT VI

                         RETALIATION IN VIOLATION OF IHRA

       51.     Plaintiff realleges paragraphs 1 through 50 and incorporates them by reference as

paragraphs 1 through 50 of Count VI of this Complaint.

       52.     The IHRA, specifically 775 ILCS 5/6-101(A), makes it unlawful to retaliate

against an employee who opposes what she reasonably and in good faith believes to be unlawful

discrimination or because she has made a charge, filed a complaint, or participated in an

investigation, proceeding, or hearing under the act.

       53.     Defendant retaliated against Plaintiff for her complaints of discrimination and

retaliation. By its conduct, Defendant subjected Plaintiff to unlawful retaliation in violation of

the IHRA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court find in her favor and

against the Defendant as follows:

       a.      Declare that the acts and conduct of Defendant violate Title VII, Section 1981,

and the IHRA, including the anti-retaliation provisions of those laws;

       b.      Award Plaintiff the value of all compensation and benefits lost as a result of

Defendant’s unlawful conduct;

       c.      Award Plaintiff the value of all compensation and benefits she will lose in the

future as a result of Defendant’s unlawful conduct;

       d.      In the alternative to paragraph (c), reinstate Plaintiff with appropriate promotions



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and seniority and otherwise make Plaintiff whole;

       e.      Award Plaintiff compensatory damages;

       f.      Award Plaintiff punitive damages;

       g.      Award Plaintiff prejudgment interest;

       h.      Award Plaintiff reasonable attorneys’ fees, costs and disbursements; and

       i.      Award Plaintiff such other relief as this Court deems just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all questions of fact raised by the Complaint.


Dated: February 6, 2025

                                      Respectfully submitted,

                                      By:
                                              /s/Erika Pedersen
                                              Attorney No. 6230020




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